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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

FAMILIES A through V,

     Plaintiffs,

         v.                                  Case No. 2022 CV 222

RON DESANTIS, as Governor of Florida;
SHEVAUN HARRIS, as Secretary of the
Florida Department of Children and Families;
JOSEPH LADAPO, M.D., as the Executive
Director of the Florida Department of Health;
PATRICIA ARMSTRONG, as the Bureau Chief
of the Florida Department of Health Child
Protection Team; and
DENNIS MOORE, as Executive Director of the
Florida Guardian ad Litem Program,

     Defendants.

                   PLAINTIFFS’ AMENDED COMPLAINT


      Plaintiff FAMILIES A through V sue Defendants RON DESANTIS, as

Governor of Florida [Governor], SHEVAUN HARRIS, as Secretary of the

Department of Children and Families [DCF], JOSEPH LADAPO, M.D., as

the Executive Director of the Florida Department of Health, [DOH],

PATRICIA ARMSTRONG, as the Bureau Chief of the Florida Department

of Health Children’s Medical Services and the Child Protection Team [CMS

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or CPT], and DENNIS MOORE, as Executive Director of the Florida

Guardian ad Litem Program [GAL] within the Statewide GAL Office, and

allege:

                   I.    STATEMENT OF THE CASE

      1.      Defendants’ operation of the foster care system in Florida

deprives Plaintiffs of rights secured by the United States Constitution and

federal laws that are enforceable in this Court.

      2.      Defendants have deprived Plaintiffs of their First and Fourteenth

Amendment rights and rights secured by 42 U.S.C. §§ 671(a) et seq and

675a(a)(1).

      3.      The deprivation of rights alleged herein involve three major

components of Defendants’ state plan for foster care: relative placement;

sibling visitation; and injunctive orders.

      4.      Defendants operate Florida’s foster care system with customs,

policies, or practices of: not placing removed children with appropriate

relative caregivers; depriving children of sibling placement or visitation; and

obtaining injunctions against parents without notice or an opportunity to be

heard or injunctions that constitute prior restraints on speech.



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      5.    Plaintiffs are: parents or relatives of children who have been

removed from their parents or are currently facing removal (Category 1

Plaintiffs); parents or relatives of removed siblings who have not been placed

together or, when placement of the siblings together is impossible, who have

been deprived or are currently facing the deprivation of visitation with a

sibling (Category 2 Plaintiffs); and parents of children who have been

removed or face removal and have been enjoined or face injunctions without

due process or that constitute prior restraints on speech.

      6.    When a child is removed from his or her biological parents

Federal law requires that Defendants perform a diligent search for relatives

and that priority be given to relative caregivers.

      7.    When a removed child has a sibling, Federal law requires that

Defendants operate the foster care system with a plan which places siblings

together or, when placement together does not occur, includes regular

sibling visitation.

      8.    After removal of the children, Defendants have a policy or

custom of improperly pursuing injunctions as a part of their operation of the

foster care system. Defendants obtain injunctions without notice to the

parents or an opportunity to be head. The injunctions prohibit contact with
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children or discussion of Defendants’ actions. Defendants use of such

injunctions deprives Plaintiffs of rights guaranteed by the First and

Fourteenth Amendments to the United States Constitution.

      9.       Plaintiffs bring claims under 42 U.S.C. §1983 for the deprivation

of rights secured by the Constitution and federal law.

      10.      Defendants deprived the Category 1 Plaintiffs of rights secured

by 42 U.S.C. §§671(a) et seq and 675a(a)(1).

      11.      42 U.S.C. §671(a) states, “In order for a State to be eligible for

payments under this part, it shall have a plan approved by the Secretary

which—”

            • “provides that the plan shall be in effect in all political

              subdivisions of the State, and, if administered by them, be

              mandatory upon them;” 42 U.S.C. §671(a)(3).

            • “provides - for the establishment or designation of a State

              authority or authorities that shall be responsible for establishing

              and maintaining standards for foster family homes and child

              care institutions which are reasonably in accord with

              recommended standards of national organizations concerned

              with standards for the institutions or homes, including
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      standards related to admission policies, safety, sanitation, and

      protection of civil rights, and which shall permit use of the

      reasonable and prudent parenting standard; 42 U.S.C.

      §671(a)(10)(A).

   • “provides that the State shall consider giving preference to an

      adult relative over a non-related caregiver when determining a

      placement for a child, provided that the relative caregiver meets

      all relevant State child protection standards.” 42 U.S.C. §

      671(a)(19).

   • “provides that, within 30 days after the removal of a child from

      the custody of the parent or parents of the child, the State shall

      exercise due diligence to identify and provide notice to the

      following relatives: all adult grandparents, all parents of a

      sibling of the child, where such parent has legal custody of such

      sibling, and other adult relatives of the child (including any other

      adult relatives suggested by the parents), subject to exceptions

      due to family or domestic violence, that--

   • (A) specifies that the child has been or is being removed from the

      custody of the parent or parents of the child;
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           • (B) explains the options the relative has under Federal, State, and

             local law to participate in the care and placement of the child,

             including any options that may be lost by failing to respond to

             the notice;

           • (C) describes the requirements under paragraph (10) of this

             subsection to become a foster family home and the additional

             services and supports that are available for children placed in

             such a home;” 42 U.S.C.§ 671(a)(29).

     12.      42 U.S.C. § 675a states in relevant part, “(a)(1) Documentation

of intensive, ongoing, unsuccessful efforts for family placement: At each

permanency hearing held with respect to the child, the State agency

documents the intensive, ongoing, and, as of the date of the hearing,

unsuccessful efforts made by the State agency to return the child home or

secure a placement for the child with a fit and willing relative (including

adult siblings), a legal guardian, or an adoptive parent, including through

efforts that utilize search technology (including social media) to find

biological family members for the children.” 42 U.S.C. § 675a(a)(1).

     13.      Defendants deprived the Category 2 Plaintiffs of rights secured

by 42 USC § 671(a)(31).
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      14.   42 U.S.C. §671(a) states, “In order for a State to be eligible for

payments under this part, it shall have a plan approved by the Secretary

which— (31) provides that reasonable efforts shall be made-- (A) to place

siblings removed from their home in the same foster care, kinship

guardianship, or adoptive placement, unless the State documents that such

a joint placement would be contrary to the safety or well-being of any of the

siblings; and (B) in the case of siblings removed from their home who are

not so jointly placed, to provide for frequent visitation or other ongoing

interaction between the siblings, unless that State documents that frequent

visitation or other ongoing interaction would be contrary to the safety or

well-being of any of the siblings;”.

      15.   Defendants deprived the Category 3 Plaintiffs of rights secured

by the First and Fourteenth Amendment.

      16.   The First Amendment states in relevant part that “Congress

shall make no law … abridging the freedom of speech.” The First

Amendment is applicable to Defendants’ acts and omissions in this case

through the Due Process Clause of the Fourteenth Amendment.




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     17.    The Fourteenth Amendment, Section 1 states in relevant part

that “No state shall … deprive any person of life, liberty, or property,

without due process of law;”.

     18.    This case presents an actual controversy between the parties.

Plaintiffs have been harmed by Defendants’ operation of the foster care

system. Plaintiffs would benefit from the injunctive and declaratory relief

sought herein. Defendants’ deprivations of Plaintiffs’ rights are ongoing.

     19.    Defendants’ deprivation of Constitutional rights is redressable

in this Court pursuant to 42 U.S.C. §1983.

     20.    Congress intended that the statutory provisions in question

benefit Plaintiffs. The rights protected by the statutes are not so vague and

amorphous that enforcement would strain judicial competence. The statutes

unambiguously impose binding obligations on Defendants. In other words,

the provisions giving rise to the rights addressed herein are couched in

mandatory rather than precatory terms.

                      II.   JURISDICTION AND VENUE
     21.    Jurisdiction is invoked pursuant to 28 U.S.C §§1331 and 1343 in

that this is a civil action arising under 42 U.S.C. §1983 to redress the

Defendants’ deprivation under color of law of the federal rights, privileges

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and immunities secured to the relatives and children involved in the Florida

foster system by the Constitution and laws of the United States. The federal

rights sought to be redressed are guaranteed by the First and Fourteenth

Amendments to the United States Constitution. This Court also has

jurisdiction pursuant to 28 U.S.C. §§2201 and 2202, as Plaintiffs seek

declaratory and injunctive relief prohibiting: (1) the unlawful separation of

children from their relatives and the unlawful internal diversion of foster

children from available relatives to system-connected nonrelatives 1; (2) the

wrongful separation of siblings from each other and the wrongful,

aggravating failure to provide separated siblings sufficient visitation to

maintain and strengthen the siblings’ bonds; (3) ex parte injunctions against

familial association absent compliance with constitutionally mandated

procedural due process requirements of notice and an opportunity to be

heard; and (4) entry and enforcement of injunctions constituting prior

restraint of speech contrary to constitutionally protected free speech rights

guaranteed by the First Amendment.


1
  Examples of system-connected nonrelatives to whom some of the children from the Plaintiff Families
were “internally diverted” include a lead agency Board Member and trustee in Clay County, a lead agency
Board member in Alachua County, a licensed foster parent couple of whom one was a volunteer with the
GAL Program, the other provided mandatory comprehensive behavioral health assessments [CBHA’s] of
foster children for the lead agency, a behavioral health specialist employee of a lead agency, and a social
worker serving as a case manager and a friend of a child protective investigator affiliated with DCF.

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      22.   Venue lies in Leon County, Florida pursuant to 28 U.S.C.

§1391(b), as Plaintiffs’ claims arise out of their relationship with the

Defendants, who operate the Florida foster care system throughout the state;

and a majority if not all of the Defendant officials have their place of business

in Leon County, Florida, which is located in the Northern District of Florida,

Tallahassee Division.

                  III. INTRODUCTORY STATEMENT

      23.   At all times material, each of the agencies, departments,

divisions, and bureaus involved in the operation of the Florida foster care

system are part of Florida’s executive branch. Florida’s Governor is the

executive responsible for oversight and operation of the foster care system.

The Governor is responsible for making sure the foster care system is

operated in accordance with federal law, and this is a condition of Florida’s

continuing receipt of federal funds for the operation of Florida’s foster care

system.

      24.   At all times material, the Governor is responsible for making

sure, among other things, that the federally protected rights of the children

and their relatives involved in the foster care system are respected and

enforced, and are not trampled, violated, or ignored.

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      25.   This case involves the Florida foster care system, part of which

is funded by Florida taxpayers, while the federal government funds the

balance. The numbers for 2018 (the most recent available) show the federal

government providing funds equaling some 61% [$776,840,104] of the

$1,295,069,665 total, with state and local funding for the balance.

      26.   Under federal law, the purpose of the foster care system is to

provide for the care, safety, and wellbeing of minor children in Florida, with

their families to be engaged in constructive, supportive, and non-adversarial

relationships, with as little intrusion into the life of the family as possible.

      27.   Florida law vests DCF, under the authority and control of the

Governor, with the obligation and responsibility to oversee and provide for

the operation of the foster care system including licensing of non-medical

foster parents and case handling of foster cases. DCF’s child protective

investigators also directly handle initial investigations with the CPT team

[housed within the Department of Health’s Children’s Medical Services

Bureau] and provides attorneys through the DCF legal services unit [CLS]

to represent the State of Florida in dependency case.




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         28.   Under the direction of the Governor, DCF contracts with private

lead agencies to operate the foster system in the various DCF regions of the

state.

         29.   Also, under direction of the Governor, the GAL Office provides

administrative staff to represent volunteer guardians available to be

assigned to make sure the rights and best interests of children in the foster

care system are being protected.

         30.   Also, under direction of the Governor, the Department of Health

has a number of divisions, including Children’s Medical Services, which

licenses medical foster parents and is responsible for the child protection

teams, which work with DCF during child protective investigations.

DOH/CMS have direct operational and contractual control of all CPT units

within the state.

         31.   When the Defendant Foster System Operators [DCF, CPT and,

GAL] under the Governor’s control believe that a child’s safety warrants

immediate removal from the Birth Parents, at times the Birth Parents are

asked to participate in a case plan to improve their ability to safely parent

children, and the Defendant Foster System Operators have a duty under



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federal law to locate relative caregivers to care for the children during the

case plan phase of the dependency case.

      32.      Federal law requires the giving of notice [within 30 days of a

child’s removal] to relatives, including all adult grandparents, all parents of

a sibling of the child where such parent has legal custody of such sibling and

other adult relatives of the child, including any other adult relatives

suggested by the parents, subject only to exceptions due to family or

domestic violence 42 U.S.C. §671(a)(29).

      33.      Only if there are no suitable, willing, available relatives, is it

appropriate for the children sheltered from their Birth Parents to be placed

with nonrelative strangers.

      34.      When there are concerns for the safety of children, parents can

be monitored as they comply with services to complete their system-

supervised case plans, with successful completion allowing reunification

with the Birth Parents of their sheltered children.

      35.      Federal law mandates that Florida’s foster care system place

siblings together and, if that cannot or does not happen, mandates that

Foster System Operators provide for frequent visitation 42 U.S.C.

§671(a)(31).
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      36.   When Foster System Officials believe the facts and safety

concerns warrant the immediate filing of a petition to expedite termination

of the Birth Parents’ parental rights, the system must, at the adjudicatory

hearing [trial] meet the stringent requirements set forth in Santosky v. Kramer,

455 U.S. 745 (1982) (to terminate parents’ fundamental rights to parent their

children, the state must demonstrate by clear and convincing evidence that

the parents abused or neglected the child and that the abuse or neglect

harmed the child) and must demonstrate the absence of any less restrictive

action that can protect the child. Discovery rules applicable in TPR cases are

based on constitutionally protected due process considerations and reflect

the expectation that foster system officials will provide Birth Parents and the

supervising dependency court judge not only factual evidence that will be

relied upon at trial, but also evidence that is exculpatory for the accused

parents, similar to the Brady v. Maryland, 373 U.S. 83 (1963), burden of

providing all relevant information.

      37.   When removing a child, or when TPR is deemed appropriate and

parental rights are ended, Foster System Officials are obligated - as a matter

of federal law – to locate and notify the child’s relatives about adoption

rights and provide permanency for the child with available, safe relatives,
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in recognition of the fact that children who cannot be safely returned to Birth

Parents do better and have better short and long term outcomes when placed

with relatives, rather than nonrelative and, in some cases, system-connected

strangers.

      38.    Federal law prohibits inappropriate interference with familial

rights, especially when Foster System Operators engage in conflicts of

interest, self-dealing and breaches of fiduciary duties to attempt to divert or

take children from their biological families to nonrelative system-connected

chosen ones.

      39.    In some cases, Florida’s Foster System Serves as an “Internal

Diversion” system, taking and keeping children from families and relatives

and letting Foster System Connected Staff take them.

      40.    This suit addresses the failure of the Defendants to follow federal

laws relating to children in Florida and their biological relatives who have

enforceable federal rights with those children. Defendants’ operation of the

foster care system deprives Plaintiffs of those rights and ignores both the

rights of children to be with relatives and that failing to do so results in

disproportionate, negative, and long-term impacts on the health of those

removed children.
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      41.     This suit seeks injunctive relief against Defendants, who in some

cases use the foster care system to identify and take children away from

biological kin and addresses the unlawful “internal diversion” practices of

Defendants in which operators of the system essentially have their choice of

the minor children placed into the state’s foster care system, interfering with

the children’s relationships with their families.

      42.     Plaintiffs also seek declaratory relief condemning as unlawful

and enjoining the unlawful internal diversion practices the Defendant Foster

System Operators have been practicing, choosing either to ignore suitable

relatives so they can effectuate the internal diversions and takings, or

choosing to ignore the ongoing duty to diligently search for relatives until

they find relatives suitable to raise the foster child.

      43.     To operate the system for internal diversion of children, Foster

System Operators executing their responsibilities [including DCF, CPT, the

GAL and DCF’s contracted lead agencies] use a number of artifices and

devices, and other outright unlawful actions, including, but not limited to:

            a. Withholding key information from the Birth Parents, other

              relatives, and their attorneys about conflicts of interest between

              case managers and the interests of the children and their
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       families, when system-connected personnel have unilaterally

       and improperly decided to push to end the parents’ rights and

       let the children be adopted by system-connected personnel,

       despite the laws and facts providing otherwise;

    b. Failing to conduct the requisite diligent searches for biological

       relatives of the child and failing to give the required 30-day

       notice to all grandparents, all parents of a sibling of the child

       where such parent has legal custody of such sibling, and other

       adult relatives of the child, including any adult relatives

       suggested by the Birth Parents when a child is sheltered,

       throughout the case, and again, as required after a TPR

       judgement e.g., 42 U.S.C.S. §§671(a)(19) and 671(a)(29);

    c. Choosing a nonrelative system-connected person for placement

       of a child instead of complying with federal law and placing the

       child with relatives;

    d. Having the lead agency [and, at times, a subcontracted case

       management agency] work with DCF to divert children to

       favored non-relatives, rather than conducting the required

       diligent searches for relatives;
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    e. Ignoring the due process rights of Birth Parents and other

       Relatives to be present with advance notice of judicial review

       proceedings, and blocking Relatives from being heard in

       dependency court proceedings;

    f. Ignoring the Santosky v. Kramer, supra burden on Foster System

       Operators to prove the alleged abuse by the clear and convincing

       evidence standard, and improperly attempting to shift the

       burden of proof to Birth Parents and their attorneys to explain

       reasons for a child’s condition;

    g. Compromising the ethical obligations of the attorneys for Birth

       Parents or other relatives by paying the attorney for system-

       connected services inconsistent with the attorney’s obligations to

       his or her clients, and withholding information about the system-

       connected payments from the Birth Parents and other relatives

       represented by the attorney accepting payment from the foster

       system operators; and

    h. Ignoring known relatives or fabricating false reports of abuse

       attributed to a relative to justify failing to approve a relative for



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                placement while attempting to place a child with a system-

                connected non-relative.

        44.     When relatives [who realized how their related youngsters had
been internally diverted] complained to the Governor, he and or his
designees took no independent action other than to redirect the complaints
to DCF or the other Foster System Operators themselves to handle, with no
accountability or redress for the relatives of the diverted children who had
been improperly kept from their relatives.
        45.     When the Governor’s Foster System Operators created false
reports or took other inappropriate action to disqualify a relative from DCF’s
consideration for temporary or permanent placement of a child, the Foster
System Operators withheld from the victim of their fabrication of reports
information available as to how the wrongfully disqualified relative could
get the erroneous information corrected and removed, and get their names
removed from the registry of abusers on which they had improperly been
listed.
                               IV. PLAINTIFF FAMILIES
                             Plaintiff Family A - The Williamses2
                               Snapshot of the Williams Family

        46.     The Williams Family includes many relatives on both of the Birth

Parents’ sides, including many in Florida and other states. Birth Mother



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  The adult Williamses prefer to use their actual names. The minors’ will be referred to as, Lil R., R.W. and
T.W.


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Taniyah Crutch-Williams had local relatives in the North Florida area in

2017 who included the children’s maternal grandparents Lisa Crutch and

Donald Crutch, three aunts and their families, and two siblings and their

families, with additional aunts and uncles in the Tampa area. Other maternal

relatives are in New York.

     47.   Birth Father Rodney Williams, Jr.’s local relatives in the North

Florida area in 2017 included the children’s paternal-great grandmother, the

children’s paternal grandparents and paternal uncle and aunt.

     48.   The adult members on both sides of the families are strongly

middle or upper-class people, involved in businesses of their own or

honorably working for others, many served in the military, all with honor,

many obtained four- or two-year college degrees. The family members,

including a number of additional maternal relatives in New York, stay in

close contact with each other.

                     Closer Look at the Williams Family

     49.   Taniyah Crutch-Williams and her husband Rodney Williams, Jr.

are the Plaintiff Williams Birth Parents. The Williams Birth Parents have

three biological children: Lil R.W., III (“Lil R.”, DOB 2015), R.W. (DOB 2017)

and T.W. (DOB 2020). They bring this action on behalf of themselves

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individually and as the victims of the Defendant Governor’s wrongful

taking of their rights to parent Lil R. and R.W., and as the natural guardian

of T.W., whose First Amendment sibling associational rights have been

wrongly interfered with; they also bring this action on behalf of other

parents whose children were wrongly removed by Foster System Operators.

      50.   The maternal biological grandparents of the three biological

Williams children are Lisa Crutch and the late Donald Crutch. Maternal

biological grandmother Lisa Crutch brings this action individually with

respect to her associational rights with her grandchildren being wrongly

interfered with, and with respect to the Defendant Foster System Operators

falsely placing her name on the child abuse registry to disqualify her from

serving as a relative caregiver for her grandchildren Lil R. and R.W.

following the children’s removal from Birth Parents in August 2017.

      51.   The paternal biological grandparents of the three biological

Williams children are Charlotte Williams and Rodney Williams, Sr. They

bring this action individually and as legal guardians of their adoptive son

Lil R. [who, with the termination of the Birth Parents’ rights to parent Lil R.

and R.W., also became the legal brother of their biological adult son Rodney

Williams, Jr.].
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                           Plaintiff Family B – The Rogers Family 3

        52.     The Rogers Family Plaintiffs include David Rogers and his wife

Charlotte Rogers, individually and as legal guardian of their Florida-born

adoptive daughter Alexandra R. (DOB 2015).

        53.     Alexandra has a full sibling brother [birth initials M.S. DOB 2017)

born in Florida and taken into foster care on May 11, 2017.

        54.     The Rogers Plaintiffs are residents of North Carolina and bring

this action on behalf of themselves and as legal guardian of their adoptive

daughter for the violation of their familial legal and associational rights with

Alexandra’s full-blooded brother, and of Alexandra’s constitutionally

protected familial associational rights with her full sibling.

                              Plaintiff Family C - The Mitchells4

        55.     The extended Mitchell Family includes many maternal relatives

of Regan’s in Florida during the time following her birth in 2015, including

great, great aunt Kathy Gomez, great aunts April Maxwell and Dale Felton

and their families, and grandfather Pedro Morgan and his minor daughter.



3
  The name “Rogers” selected for this Plaintiff Family is a pseudonym to protect the Rogers Family Plaintiffs
as the adoptive parents of a child identified by pseudonym, Alexandra R.
4
   The surname “Mitchell” is a pseudonym to protect the privacy of the relative minor child internally
diverted from the Mitchells; the Mitchells’ minor child relative will be referred to by a pseudonym, Regan
M, her siblings by pseudonyms Alicia M. and Chelsea D.

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There were numerous other maternal relatives in Massachusetts, including

great aunt Kendall Mitchell [background in preventing childhood abuse and

trauma, early childhood education, raised three daughters, all college

educated], in addition to the Birth Fathers of Regan’s two half-sisters,

Chelsea D. and Alicia M. Spencer DaCosta is the Birth Father of Chelsea D;

his then-fiancé/now wife Anna DaCosta is a nurse. All family members have

solid family values and would have passed a properly administered home

study, and all were willing and available to raise Regan if the family

placements with the Florida relative families did not work out.

     56.   The extended Mitchell Family consists of numerous relatives of

the minor child Regan M. (DOB 2015). Those involved as Plaintiffs here

include maternal great aunt Kendall Mitchell, who applied to, and who was

approved to, adopt Regan.

     57.   Regan has two half siblings, Alicia M. (DOB 2010) and Chelsea

D. (DOB 2014); all three sisters share the same Birth Mother. Spencer and

Anna DaCosta bring this action individually and as the natural and legal

guardians of daughter Chelsea D. Milton Murphy and Melanie Murphy

bring this action individually and as the natural and legal guardian of

daughter Alicia M.
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      58.   With her own two children, great aunt April Maxwell and her

partner Marcus Diamond served as relative caregivers for Regan for more

than two years. They bring this action for themselves individually and as

natural and legal guardians of their two minor children Everett M. (DOB

2005) and Hilarie M. (DOB 2006), as relative caregivers from whom the foster

system-connected folks diverted a minor child, after presenting the

dependency court with erroneous information about them, and improperly

and incorrectly telling Plaintiff Diamond he had no right to come to court or

to be heard.

     59.    Great aunt Dale Felton and great uncle Slade Felton and their

children Jaclyn [2010] and Laurel F. [2013] also served as relative caregivers

for Regan, with the children having a sibling type relationship before Regan

was improperly and prematurely diverted from their home to be taken by

nonrelative system-connected personnel. They bring this action on behalf of

themselves individually and as natural guardians of their two minor

children.

      60.      Regan M.’s biological grandfather Pedro Morgan brings this

action individually and on behalf of his minor daughter Karla M. (DOB



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2004), who for more than a year, had a sibling relationship with her

biological niece Regan.

                             Plaintiff Family D – The Budloves5

        61.     The Budlove Family Plaintiffs include the Plaintiff Birth Mother

Brittany Budlove and her biological daughter, T.B. [DOB 2019], maternal

grandmother Judy Miller [retired owner/operator of a McDonald’s, moved

to Florida to be near the Birth Mother and grandchild T.B.], maternal aunt

Chauntina Kern [in-home healthcare worker for nine years], maternal aunt

Kiesha Kern [truck driver for metals company for more than ten years],

maternal uncle Gregory Nunley [has worked at Tootsie Roll Factory in

Chicago for 20 years], maternal great uncle Dr. Richard Nunley [teacher for

Chicago Public School system for nearly 40 years, [maternal great aunt

Felicia Nunley [elementary school teacher for more than 20 years], maternal

cousin Dr. Danielle Nunley [pharmacist/pharmacy manager], and maternal

cousin Simone Wilson [licensed therapist and clinical social worker for more

than seven years].




5
  The Birth Mother and her relatives have chosen to use the actual names of the adult Plaintiffs, with the
actual first name of the child


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      62.   The maternal relatives are all willing, available, and appropriate

to care for T.B.

      63.   The Birth Parents were divorced in February 2021; the Birth

Father is not involved.

      64.   Of eight maternal relatives, many of whom initially had their

home studies approved, the Defendant Foster System Operators have

nevertheless chosen thus far to exclude them as caregivers for their relative

T.B. so that a nonrelative system-connected custodian can have T.B.

      65.   The maternal relatives named personally reached out to the

assigned case management and their agency and were rebuffed and or

purposely misguided regarding their request to obtain custody of their

young family member.

      66.   The Birth Mother Plaintiff brings this action individually and on

behalf of the wrongful deprivation of familial associational rights with T.B.

                          Plaintiff Families E – V

      67.   Many families have been impacted by Defendants’ operation of

the foster care system in Florida. Plaintiffs, Taylar Point and Fredrick Benton

(Family E), are paternal aunt and uncle to two girls impacted by Defendants’

operation of Florida’s foster care system. Both girls were removed from their

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parents in Duval County. Neither Ms. Point nor Mr. Benton were notified

about the removal of their nieces until approximately seven months later and

after she was placed with non-relatives in a foster home. Ms. Point and Mr.

Benton were able ultimately to adopt one of their nieces, born into care after

the first, but not her sister. In addition to Defendants’ failure to notify Ms.

Point and Mr. Benton in accordance with Florida law, Defendants deprived

the sisters of sibling placement and visitation.

      68.   Curt Houston, Sr. (Family F) is the grandfather of two children

in the foster care system. The children were removed from their biological

father after their mother passed away. Mr. Houston did not receive the

required notification. His grandchildren have been placed in a nonrelative’s

home. ON information and belief, the placement of the grandchildren was a

part of Florida’s illegal internal diversion program.

      69.   Esmeralda Arroyo (Family G) is the paternal grandmother of

three grandchildren in the foster care system. The children were removed

from their biological parents. Ms. Arroyo did not receive the required

notification. Her grandchildren have been placed in a nonrelative foster

home in violation of federal law.



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      70.   Jennifer and Douglass Cooke (Family H) are the maternal aunt

and uncle to their nephew who was taken into Defendants’ custody in

Flagler County. Initially, their nephew was placed with Mr. and Mrs. Cooke.

However, Defendants removed their nephew from their custody and control

without cause and in violation of federal law placed their nephew first

briefly with a relative, and subsequently in a non-relative foster home. When

the child shortly thereafter went into foster care, the Cooke’s were not reached out

to to be considered for placement nor adoption.

      71.   Constance and Charles Zittin (Family I) are grandparents of a

child taken into Defendants’ custody in Clay County. While their grandchild

had previously lived with them, Defendants refused to consider placement

with them upon removal from his parents, without cause and in violation of

federal law placed their grandchild in a non-relative home.

      72.   In addition to the families introduced above, numerous other

families have been and continue to be impacted by Defendants’ operation of

the foster care system in Florida. Those additional families and family

members are identified below, and the categorization of their claims are

included.



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     73.      The following Plaintiffs are pursuing the following categories of

claims:

     • Category One: In addition to the Williams Family, Rogers Family,

           Mitchell Family, and Budlove Family (Families A – D respectively),

           Taylar Point and Fredrick Benton (Family E), the Houston Family

           (Family F), the Arroyo Family (Family G), the Cooke Family (Family

           H), the Zittin Family (Family I), Melina Markos-Turk (Family J),

           Karen L. McGuire (Family K), Shicora Denise Bennett (Family L),

           Angeline Petiti-Homme Lopez (Family M), Kathleen Nixon (Family

           N), Sandra Phillips (Family O), Leon Zatar (Family P), Nicole Snell

           (Family Q), La’Jade Symone Evans (Family R), Ashley Rosenberg

           (Family S), Rielma Bejerano (Family T), Gretchen Hanson (Family

           U), and Trena Robinson (Family V) have all been and continue to

           be impacted by Defendants’ operation of the foster care system in

           violation of 42 U.S.C. §§671(a) et seq and 675a(a)(1).

     • Category Two: Families A, B, C, E, G, J, and Q have been and

           continue to be impacted by Defendants’ operation of the foster care

           system in violation of 42 USC § 671(a)(31).



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     • Category Three: Families A, D, and R have been impacted by

           Defendants’ operation of the foster care system in violation of the

           First   and   Fourteenth    Amendments     to   the   United   States

           Constitution.

                                  V.    DEFENDANTS

                         A.   Defendant Governor DeSantis

     74.      Defendant DeSantis is the Governor of the State of Florida, the

head of the executive branch of Florida’s government and the person

responsible for the proper operation of the foster care system, including the

portions of the system operated by the Florida Department of Children and

Families [DCF], the Children’s Medical Services [CMS] and Child Protection

Team [CPT]. By law Defendant Governor is responsible for the proper

administration of DCF, assuring DCF operates in conformity with State and

federal law and in compliance with the agreement with the federal

government under, inter alia, the Adoption and Safe Families Act and the

Family First Prevention Services Act of 2018, which parallels Florida

legislative changes adopted in 2018.

     75.      Defendant DeSantis is sued in his official capacity.



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      76.   As executive officer of Florida, the Defendant Governor is

responsible not only for the hiring and continued employment of Shevaun

Harris, Secretary of DCF and of Joseph Ladapo as Executive Director of

DOH, but also to make sure that CMS/CPT Bureau Chief Armstrong and

the CPT personnel are not abusing their positions.

      77.   Defendant DeSantis is also responsible for seeing that the Florida

foster system operates consistently with federal law and is responsible for

ensuring DCF protects the federally protected civil rights of foster children

and their biological families by ensuring that once children are removed

from their biological parents, they are placed with biological family

members if they cannot be safely returned to their Birth Parents.

      78.   Defendant DeSantis is also responsible for making sure that the

Foster System Operators do not provide perjured testimony or inaccurate

information to the children’s Birth Parent and other relatives, or to the

attorneys for the Family members to the dependency courts, do not withhold

pertinent information, or mislead the court about applicable law, and to

make sure those operating Florida’s foster system follow the law, rather than

ignoring it to unlawfully separate foster children from their relatives so they

can be placed with nonrelative system-connected personnel.
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     79.   Since Defendant DeSantis assumed office in January 2019, he has

overseen the operations of Florida’s foster care system and tolerated actions

taken by the other foster system-connected Defendants in a manner contrary

to federal law, needlessly exposing the removed children and their families

to violations of law likely to subject them to long-term health consequences.

                        B.    Defendant Shevaun Harris

     80.   Defendant Shevaun Harris is sued in her official capacity as

Secretary of the Florida Department of Children and Families [DCF].

Defendant Harris is the Florida foster system official responsible for the

proper operation of the foster care system in the state of Florida, a system

operated in accordance with federal and state law, for which the federal

government provides more than 60% of the annual funding to operate the

system.

     81.   Federal law requires Florida [and, in accepting federal funds, the

State of Florida agreed] to diligently search for biological family members

for the placement of children in their legal custody, providing priority to

family members for temporary and permanent placements, prior to

placement with either a licensed foster care home or placement with non-

relatives in a non-licensed home.

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     82.   As a matter of Florida public policy and law, federal lawmakers

and Florida’s Legislature have found that, as acknowledged by social

workers and case managers, foster children do better when placed with

biological relatives, rather than nonrelative strangers; even DCF’s own

policies, procedures and Florida’s Administrative Code provisions reflect

DCF’s recognition of the importance and requirement for contact between

children removed from their families and their biological relatives.

                         C.    Defendant Dennis Moore

     83.   Defendant Dennis Moore is sued in his official capacity as

executive director of The Guardian ad Litem Program of Florida [GAL], a

Florida program which is tasked with advocating for the best interest of

children in the foster care system. GAL was designed as an advocate for

children removed from their families, to promote and protect sibling contact,

provide a safety net and oversight for the needs of children to assure case

plan, therapeutic and medical services are provided to the children in the

foster care system as well as ensure compliance with federal law.

                              D.   Defendant Ladapo

     84.   Defendant Ladapo, M.D. is sued in his official capacity as the

executive director [formerly called Secretary] of the Florida Department of

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Health, the department charged with providing medical foster care and

other health services in the foster care system through Children’s Medical

Services [CMS] and the Child Protection Team [CPT]. CMS provides direct

medical services and coordinates medical services for children in the foster

care system, especially for children designated as children with medical

needs. CPT is a bureau within DOH that conducts forensic evaluations and

medical evaluations of children after reports of abuse after abuse

investigations are initiated through the Florida Abuse Hotline; each district’s

regional CPT office has a medical director to oversee allegations of abuse

and neglect, to determine if a child has injuries attributable to abuse or

neglect, rather than a medical or other condition not attributable to abuse or

neglect, and to ensure compliance with federal law.

                       E.    Defendant Pamela Armstrong

      85.   Defendant Armstrong is sued in her official capacity as Bureau

Chief of CPT and CMS. She is responsible to make sure CPT personnel

conduct their assessments properly and in accordance with applicable

protocols for each office’s Medical Director and Nurse Practitioner and

federal law. CMS provides direct medical services and coordinates medical



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services for children in the foster care system, especially for children

designated as children with medical needs.

                          VI. CAUSES OF ACTION

                                    COUNT I

    VIOLATION OF FAMILIAL ASSOCIATIONAL RIGHTS AND
    PRIORITIZATION AND NOTIFICATION OF RELATIVES AS
    SET FORTH IN 42 U.S.C. §671(a)(19) and (a)(29) AND THE
    FIRST AMENDMENT OF THE UNITED STATES
    CONSTITUTION

      86.   Plaintiffs repeat the allegations set forth in paragraphs 1 through

85 above as if set forth herein in full.

      87.   At all relevant times, the State of Florida accepted payments

under Title IV-E of the federal Social Security Act, known as the Child

Welfare Act or Adoption Assistance and Child Welfare Act, 42 U.S.C. § 671.

      88.   Under the Act, federal law requires that the State “consider

giving preference to an adult relative over a non-related caregiver when

determining a placement for a child, provided that the relative caregiver

meets all relevant State child protection standards,” 42 U.S.C. § 671(a)(19).

      89.   Furthermore, federal law provides that, “within 30 days after the

removal of a child from the custody of the parent or parents of the child, the

State shall exercise due diligence to identify and provide notice to the

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following relatives: all adult grandparents, all parents of a sibling of the

child, where such parent has legal custody of such sibling, and other adult

relatives of the child (including any other adult relatives suggested by the

parents) . . .” 42 U.S.C. § 671(a)(29).

      90.   These laws recognize that each Family with a child removed by

the foster system has a First Amendment familial associational right to

maintain contact with their family members, consistent with the First

Amendment and the federal laws prioritizing the right of family members

to be considered for placement, 42 U.S. C. § 671(a)(19), and consistent with

the federal mandate that state foster systems give notice to all pertinent

relatives, 42 U.S.C. §671(a)(29).

      91.   These federal statutes and the First Amendment authorize an

individually enforceable right under Title 42 U.S.C. § 1983 because Congress

intended the above provisions to benefit the Plaintiffs, the asserted rights are

clear and direct as to their enforcement; and the above statutes

unambiguously impose a binding obligation on the States.

      92.   The Foster System Defendants have denied certain Plaintiff

Families their constitutionally protected familial associational rights and



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rights under federal law intended to protect the health and well-being of

children removed into the system by inter alia:

        a. failing to conduct the requisite diligent searches for biological

           relatives of the child;

        b. failing to give the required 30-day notice to all grandparents, all

           parents of a sibling of the child where such parent has legal

           custody of such sibling, and other adult relatives of the child,

           including any adult relatives suggested by the Birth Parents

           when a child is sheltered, throughout the case, and again, as

           required after a TPR judgement, e.g. 42. U.S.C.S. §§671(a)(19)

           and 671(a)(29);

        c. purposefully choosing non-relative system-connected persons

           for placement of a child instead of complying with federal law

           and placing the child with relatives, when qualified relatives

           were readily available; and

        d. having the lead agency [and, at times, a subcontracted case

           management agency] work with DCF to divert children to

           favored non-relatives, rather than conducting the federally

           required diligent searches for relatives.
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      93.   In addition to the Williams Family, Rogers Family, Mitchell

Family, and Budlove Family (Families A – D respectively), Taylar Point and

Fredrick Benton (Family E), the Houston Family (Family F), the Arroyo

Family (Family G), the Cooke Family (Family H), the Zittin Family (Family

I), Melina Markos-Turk (Family J), Karen L. McGuire (Family K), Shicora

Denise Bennett (Family L), Angeline Petiti-Homme Lopez (Family M),

Kathleen Nixon (Family N), Sandra Phillips (Family O), Leon Zatar (Family

P), Nicole Snell (Family Q), La’Jade Symone Evans (Family R), Ashley

Rosenberg (Family S),       Rielam Bejerano (Family T), Gretchen Hanson

(Family U), and Trena Robinson (Family V) have all been impacted by

Defendants’ operation of the foster care system in violations of 42 U.S.C.

§§671(a) et seq and 675a(a)(1).


                                   COUNT II

        VIOLATION OF SIBLING ASSOCIATIONAL RIGHTS
        AND MANDATORY REQUIREMENTS OF PLACEMENT
        OF CHILDREN WITH SIBLINGS OR, IF NOT POSSIBLE,
        MEANINGFUL VISITATION AS SET FORTH IN 42
        U.S.C. §671(a)(31) AND THE FIRST AMENDMENT OF THE
        UNITED STATES CONSTITUTION

      94.   Plaintiffs repeat the allegations set forth in paragraphs 1 through

85 above as if set forth herein in full.

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      95.   At all relevant times, the State of Florida accepted payments

under Title IV-E of the federal Social Security Act, known as the Child

Welfare Act or Adoption Assistance and Child Welfare Act, 42 U.S.C. § 671.

      96.   Under the Act, federal law requires that the State make

reasonable efforts “(A) to place siblings removed from their home in the

same foster care, kinship guardianship, or adoptive placement, unless the

State documents that such a joint placement would be contrary to the safety

or well-being of any of the siblings . . . “ 42 U.S.C. § 671(a)(31)(A).

      97.    In cases in which the siblings cannot be jointly placed, federal

law requires that the State allow “for frequent visitation or other ongoing

interaction between the siblings, unless that State documents that frequent

visitation or other ongoing interaction would be contrary to the safety or

well-being of any of the siblings.” 42 U.S.C. § 671(a)(31)(B).

      98.    These federal statutes recognize that siblings removed from their

Birth Parents have a First Amendment sibling associational right to be

placed with their siblings, and, where that is not possible, to have frequent

enough visitation and contact so that their relationships and bonding are

maintained and strengthened.42 U.S.C. §671(a)(31).



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      99.     These requirements were intended to allow for enough contact

or visitations so that the siblings’ relationships and bonding are maintained

and strengthened.

      100. These federal statutes and the First Amendment authorize an

individually enforceable right under Title 42 U.S.C. § 1983 because Congress

intended the above provisions to benefit the Plaintiffs, the asserted rights are

clear and direct as to their enforcement; and the above statutes

unambiguously impose a binding obligation on the States.

      101. The Foster System Defendants have denied these sibling

association rights by:

            a. systematically and purposefully failing to make any effort to

              place siblings within the same placements in order to place

              children with the Defendants’ favored non-relatives; and

            b. systematically failing to allow for sibling visitation in order to

              severe ties with separately placed siblings.

      102. Families A, B, C, E, G, J, and Q have been impacted by

Defendants’ operation of the foster care system in violation of 42 USC §

671(a)(31).



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                                   COUNT III

      VIOLATION OF CONSTITUTIONAL DUE PROCESS
      REQUIREMENTS FOR NOTICE AND AN OPPORTUNITY
      TO BE HEARD REGARDING EX PARTE INJUNCTIONS
      INTERFERING WITH PROTECTED ASSOCIATIONAL
      RIGHTS   AND  IMPROPERLY   IMPOSING  PRIOR
      RESTRAINT OF PROTECTED FIRST AMENDMENT
      SPEECH

      103.   Plaintiffs repeat the allegations set forth in paragraphs 1

through 85 above as if set forth herein in full.

      104. At all relevant times, the State of Florida accepted payments

under Title IV-E of the federal Social Security Act, known as the Child

Welfare Act or Adoption Assistance and Child Welfare Act, 42 U.S.C. § 671.

      105.   The Foster System Defendants improperly ignored the

constitutional due process requirements under the Fourteenth Amendment

for notice and an opportunity to be heard by obtaining injunctions against

some Plaintiffs having contact with family members without proper notice

or any opportunity to be heard, and the injunctions obtained amounted to

an improper restraint of free speech.

      106. The Plaintiff Families subjected to improper injunctions, without

notice or an opportunity to be heard, prior restraints on speech, and related

punishments, including imprisonment, are: (a) the Williams Family; (b)the

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Budlove Family; and (c) the Evans Family. Families A, D, and R have been

impacted by Defendants’ operation of the foster care system in violation of

the First and Fourteenth Amendments to the United States Constitution.

                   VII. REMEDY AT LAW INADEQUATE
      107. Defendant Foster System Operators wrongly ignore their

obligations to proactively and diligently search for family to serve as

temporary and permanent caregivers for their relative minor children,

instead ignoring their duties to find safe, suitable, willing Relatives, then

arguing later that children have bonded to the stranger, non-relatives, and

suggesting to the court that it is not fair to move the children to relatives as

a sanction for the unlawful job performance and system misfeasance and

malfeasance.

      108. The policies, practices, abuses of power, acts and omissions of

Defendant Foster System Operators constitute actions contrary to the best

interests of the children taken into the system and steal the children from

their families illegally and unconstitutionally, violating inter alia the

Fourteenth Amendment to the Constitution of the United States.




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      109. Each day that the Defendant Foster System Operators delay their

compliance with controlling laws, the children and their Families are

damaged.

      110. These Plaintiff Families will continue to be irreparably injured

by the Defendants’ policies, practices, acts, and omissions until and unless

this Court grants the injunctive relief requested.

      111. With each day that the Defendants delay their compliance with

the law, continue their unlawful custody of Florida children whose Birth

Parents have been wrongly or unfairly targeted, Florida Families are being

harmed and losing valuable rights for which there is no adequate remedy at

law for damages and can only request this Court to immediately order the

Defendants to stop their unlawful child taking and their wrongful internal

diversion activities and to immediately begin complying with the provisions

of federal foster care system laws. Florida families with children are at risk

of their children being targeted and taken by the Defendant Governor and

the other Foster System Defendants.

                        VIII. RELIEF REQUESTED

      112. Plaintiff Families request the Court to declare unlawful the

Defendants’ policies and practices of ignoring Florida and federal foster care

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laws and depriving Plaintiffs of their due process rights by Defendants’

unlawful child diversions, presenting incomplete evidence, withholding

evidence from the Court and Birth Parents, other family members and their

attorneys, preventing dependency court proceedings from being fair and

impartial, and wrongly preventing the access of relatives to receive

information and be present at hearings relating to children targeted by the

Foster System Defendants.

      113. Plaintiff Families further request the Court to provide temporary

injunctive relief and a permanent injunction requiring the Defendants to

operate the foster care system in accordance with the state and federal laws

in effect, and to stop ignoring the procedural and substantive due process

rights of Florida’s Children and their Birth Parents and other relatives.

      114. The injunction should immediately stop, the current practice of

wrongful child taking and internal diversion from relatives to system-

connected nonrelatives.

      115. .The injunction must stop, immediately, the Defendant Foster

System Operators’ practice of allowing children to be placed with system-

connected nonrelatives, unless and until Foster System Operators provide

accurate information documenting that a proper family finding search has
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been completed, with the diligent search demonstrating that there are no

suitable, willing available relatives to be caregivers for sheltered children.

      116.   The injunction should prohibit CPT from having their

unsupervised or improperly supervised nurse practitioners seeing if they

can find children to target for child takings and internal diversions so that

system-connected nonrelative personnel can acquire children who should be

with relatives, and who would be with relatives if the foster system officials

complied with their diligent search requirements to find safe relative

caregivers when children cannot safely be returned to the Birth Parents from

whom they are being taken.

      117. Defendant Foster System Operators should be required to

immediately and promptly provide dependency judges and Birth Parents

and other relatives with potentially exculpatory evidence not offered at trial.

      118. Defendant Foster System Operators should be prohibited from
fabricating false reports in order to try to disqualify relatives as caregivers,
and the Defendant Foster System Operators should be required to
immediately provide any relative disqualified from serving as a relative
caregiver the information needed to correct the errors in the system-
fabricated reports.




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      119. Defendant Foster System Operators should be prohibited from

separating siblings from each other.

      120. Defendant Foster System Operators should be required to make

sure that siblings are allowed direct contact with each other, that visitation

be granted when sibling placement is not possible, and that grandparents

and other adult relatives are given notice of their right to an evidentiary

hearing on their right to visit their grandchildren.

      121. The injunction should require Defendant Foster System

Operators to promptly correct false statements in home studies, and to

remove those whom they listed on the abuse registry to remove the falsely

labeled persons from the registry, and to delete, and not use again, the false

statements, including those relating to Lisa Crutch and Simone Wilson.

      122. The injunction should require all attorneys acting on behalf of

the Florida foster care system to submit an affidavit on personal knowledge

certifying the facts in each case with out of state relatives of children in state

foster care, to timely demonstrate Florida’s compliance, at the time of shelter

and the first hearing after a TPR judgement, with diligent search, family

finding, and the notice and hearing requirements mandated by federal law.



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      WHEREORE Plaintiffs demand judgement against Defendants and pray

for the following relief:

            a. A preliminary and permanent injunction against Defendants

               and its directors, officers, agents, employees and representatives

               and in and all persons acting in concert with them from engaging

               in each of the unlawful practices set forth herein;

            b. A declaratory judgement that the practices complained of in this

               Complaint are unconstitutional and violate federal law;

            c. The entry of an order assessing Plaintiffs’ costs and reasonable

               attorney’s fees against the Defendants pursuant to 42 U.S. C. §

               1988; and

            d. Such further relief as the Court deems appropriate.

      Dated this 16th day of September, 2022.
                                    /s/ Karen Gievers
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                                    And

                                    /s/ Octavia Brown

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